      3:18-cr-30005-SEM-TSH # 136         Page 1 of 4                                      E-FILED
                                                            Thursday, 06 August, 2020 08:51:29 PM
                                                                      Clerk, U.S. District Court, ILCD

                       UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                      )
                                               )
                   PLAINTIFF,                  )
                                               )
      VS.                                      )        CASE NO. 18-30005-SEM-TSH
                                               )
MOHANAD AL-MATARNEH,                           )
                                               )
                   DEFENDANT.                  )

      UNOPPOSED MOTION TO CONTINUE SENTENCING HEARING

   NOW COMES the Defendant, Mohanad Al-Matarneh, by his attorney, William

L. Vig, and for his Unopposed Motion to Continue Sentencing Hearing, states as

follows:

   1. This case is currently set before the court for a Sentencing Hearing on August

      14, 2020, at 1:30 p.m., before the Honorable Sue E. Myerscough.

   2. There remain outstanding concerns regarding the presentence investigation

      report and other sentencing issues about which the undersigned counsel has

      conferred with counsel for the government, and which the undersigned

      counsel remains hopeful can be resolved with additional time.

   3. Furthermore, pursuant to this District’s General Order 20-03, the currently

      scheduled hearing could only be conducted by video conference with both the

      consent of the defendant and a finding by the Court for specific reasons that

      the sentencing hearing in this case cannot be further delayed without serious

      harm to the interests of justice.
      3:18-cr-30005-SEM-TSH # 136        Page 2 of 4



   4. The undersigned counsel knows of no facts which would support such a

      finding in this matter.

   5. The undersigned has conferred with his client, who does not wish to consent

      to be sentenced by video, and agrees with seeking a continuance of the

      sentencing hearing for the above reasons.

   6. The undersigned has conferred with Assistant United States Attorney

      Timothy Bass, who indicated that the Government has no objection to this

      motion seeking a continuance for the aforementioned reasons.

   7. The defense therefore seeks a continuance of the sentencing hearing for

      approximately sixty (60) days, or until such other time as the hearing may

      safely be conducted in person pursuant to General Order 20-03.

   8. On August 5, 2020, this Court ordered the parties to file briefs by August 7,

      2020, stating whether they consent to having the sentencing hearing

      conducted by video conference.

   9. The instant motion, if granted, would avoid the need to consider holding the

      sentencing hearing by video, and thus the defense seeks that the August 5,

      2020, text order be vacated if the Court grants this motion.

   10. This request is made in the interest of fairness and justice and not for the

      purpose of any unreasonable or undue delay.

   WHEREFORE, the Defendant respectfully requests this Honorable Court

continue the previously set Sentencing Hearing for approximately sixty (60) days or

until such time as it may safely be held in person, vacate its August 5, 2020, text
      3:18-cr-30005-SEM-TSH # 136      Page 3 of 4



order, and grant any other such and further relief as this Court deems reasonable

and just.          .

                                      Respectfully submitted,

                                      Mohanad Al-Matarneh, Defendant


                                By:   /s/ William L. Vig
                                      Attorney for Defendant



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       3:18-cr-30005-SEM-TSH # 136         Page 4 of 4




                            CERTIFICATE OF SERVICE

       I hereby certify that on August 6, 2020, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to all counsel of record.




                                           /s/ William L. Vig
                                           Attorney for Defendant
